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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

UNITED STATES OF AMERICA                 )
                                         )
       v.                                ) CASE NO. 2:09-CR-81-WKW
                                         )             [WO]
DANIEL LAMAR HATCHER                     )

                                     ORDER

      Defendant has filed a pro se motion for compassionate release in which he

seeks to modify an imposed term of imprisonment pursuant to 18 U.S.C.

§ 3582(c)(1)(A)(i). (Doc. # 346.) Defendant was convicted of conspiracy and drug-

trafficking charges and was sentenced to three-hundred months’ imprisonment.

(Doc. # 252.)

      Upon a thorough review of the record and upon consideration of the 18 U.S.C.

§ 3553(a) factors, the court concludes that Defendant’s motion is due to be denied

for the reasons set out in the Government’s response. (Doc. # 348.) Accordingly, it

is ORDERED that Defendant’s motion for compassionate release (Doc. # 346) is

DENIED.

      DONE this 23rd day of September, 2020.

                                           /s/ W. Keith Watkins
                                      UNITED STATES DISTRICT JUDGE
